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                          EXHIBIT G
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                        Los Angeles County Sheriff's Department




                                           Concealed Carry Weapon
                                                   License
                                             Click the button below for Concealed Carry
                                           Weapon License information and applications.
                                           You can apply for a new application, renew your
                                             current application or change the address
                                                  associated with your application.


                                                            View details »




                           Concealed Carry Weapon License The process
                           is easier than you think.

                            Note:
                            The LASD will only accept first-time CCW applications from those who
                            reside within our contract cities or unincorporated communities. Please click
                            on the link below, enter your home address at the bottom of the page to verify
                            you reside within our jurisdiction:

                            CLICK HERE



https://lasd.permitium.com/entry                                                                                                  1/4
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                            *Please confirm that your current address is within LASD jurisdiction
                            with the link above before starting an online application.

                            Applicants residing in a municipality other than those served by the LASD
                            need to contact their local police department and apply for a CCW license with
                            them.




                           General Information
                           Learning the laws regulating the use of firearms is a must for responsible
                           ownership. Local regulations differ and laws vary from state to state. Citizens
                           must check with the jurisdiction where the firearm is to be used.

                           In California, the Sheriffs and their staff are required to follow strict state and local
                           guidelines when performing the necessary background checks for issuing
                           Concealed Carry Weapon licenses. Due to the detailed nature involved with
                           conducting these background checks, appointment times and processing times
                           can take multiple weeks. During the application process, the applicant will be
                           asked to schedule an interview appointment for a new Concealed Carry Weapon
                           license.


                            NOTICE FOR RENEWAL:              If the applicant is RENEWING a Concealed
                            Carry Weapon license in Los Angeles County, they may not apply until
                            90 days before the expiration date listed on their current Concealed
                            Carry Weapon license. These will be processed in the order they were
                            submitted. You may track the progress/status of your order using the
                            Order Tracker.


                           Pricing:


                            Type of Permit                                            Standard 2 Year

                            Initial Fee                                               $43.00
                            Paid on submission of your application


                            Issuance Fee                                               $173.00
                            Paid upon the approval of the application




                            Renewal Fee                                               STANDARD
                                                                                      $129.00
                                                                                      DOJ Fee - $52.00
                                                                                      Sheriff Fee - $77.00


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                                                                                 JUDICIAL
                                                                                 $151.00
                                                                                 DOJ Fee - $74.00
                                                                                 Sheriff Fee - $77.00




                             For credit card transactions a nominal credit card transaction fee will be
                             charged for each transaction. Charges will be viewable prior to
                             transaction completion.
                             Appointments for Concealed Carry Weapon licenses will be
                             processed Tuesdays and Thursdays 07:00 AM to 1:40 PM.
                             CCW PERMITS WILL NOT BE ISSUE ON ANY GOVERNMENT HOLIDAY
                             Click the appropriate button on the left of the screen to proceed with an
                             application for a Concealed Carry Weapon license.




                           Please note that this website is optimized for Edge, Safari, Chrome and
                           Firefox.




                           For More Information, Contact:
                           Los Angeles County Sheriff's Department

                           Address: 211 West Temple Street, Los Angeles, CA 90012

                           Phone: 213-229-3110

                           Email: ccw_unit@lasd.org – questions pertaining to ccw procedure

                           CCWNotifications@lasd.org - for any notifications listed on your signed
                           terms and conditions waiver.



                           Website: https://lasd.org/ccw/




                           For Technical Support, Contact:
                           Permitium Software
                           Email: help@permitium.com
                           Phone: (855) 642-2453

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